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                        Exhibit A
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Dear Judge Burroughs:
This a letter as a mother I never expected to have to write but I do so lovingly, as my son is one
of the most important people in my life. Like all mothers, all you ever want give your children
is never ending love, support and safety. Once they leave your home you hope that they are
good people and find happiness in whatever they do. They will encounter good times and bad
and you hope as parent you can help them find strength and faith to endure any situation. This
situation with Michael has been extremely difficult for my husband and myself and we have
spoken to Michael numerous times to ensure he is contrite, loving and being a great family man
during this time. I know that without his wife Natalie and his sons          and          he would
be struggling.


When my son found the woman of his dreams I was hopeful God would bless us with
grandchildren and they were lucky to have two wonderful boys. Although Natalie can not get
physically have children anymore they have discussed adoption as they feel and I know they
have so much more love to give to an expanded family. I am proud of Michael in many ways
but nothing provides me greater joy than him being a loyal husband and an amazing father. His
two boys are his pride and joy and his sons have been attached to him since birth.


I know Michael very well. He has regrets and he has fears. Please know that my son is sorry
and he is a better person and family man because of this situation. He is the backbone to so
many family aspects and his ability to focus his life on the positives during a dark period is
something I admire him for. I have given my life to my faith in Christ and pray every day that
his sons get to have Michael wake them up and cook vegan pancakes for them. They love his
terrible singing as he sings to them at night and I ask selfishly that I get to FaceTime and see my
son every day. My faith teaches me that we all do wrong but it is how we come out the other
side that is the true test of a person.


I love my son. I would do anything for him and I hope my thoughts help show what type of
person my son is. I appreciate you taking the time to read and consider this on my behalf.


Respectfully,


Carol Babich
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                        Exhibit B
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Dear Judge Burroughs:
My name is Larry Babich and I am Michael Babich’s Father. Thank you for allowing me the
chance to tell you about him. I am a retired electrician for the city of Chicago and my wife and I
still reside on the south side of Chicago where Michael and his sister were raised. We worked
hard to send him to the best schools and I worked two jobs while he was young so he could
attend Catholic schools as we believed they provided the best education in the city. His hard
work in his studies allowed him to get into the University of Illinois at Champaign Urbana and
eventually a masters degree at Kellogg Northwestern.


Giving my children the opportunities to attend higher education was very important to my wife
and I as we didn’t have the same chances growing up. Attending college was not an option for
us. Aside from the focus on their studies we also preached hard work, commitment and
responsibility to our children. Michael’s first two jobs in high school were his grass cutting
business in the neighborhood and as a roofer in the summers despite his fear of heights. It was
important for me to show Michael that although a laborer like me was a fine job we expected
more from him given the investment we were making into his education.


As a proud father I am happy to see that Michael appreciates those values and is a father figure
and teacher to his young boys. I am able to travel to Arizona to see my grandkids a few times
per year. Michael works so hard to monitor his children’s learning and safety while also caring
for Natalie as she deals with her physical issues. We FaceTime with his family every day and
it’s brings me so much joy as a father and a grandpa.


They say you are only happy as your unhappiest child. The situation Michael is in causes me
more pain and grief that I can put into words. I discussed some of the values that I tried to teach
my kids and I hope people appreciate that he has taken responsibility for his decisions and works
hard everyday to improve not only himself but his loved ones around him. I know my son. I
love my son. I know that his wife and children need him on a daily basis. I know he is sorry and
his faith and commitment to his family will always be there. As a parent we are not always
happy with every decision our kids make but we stand by them and love them. My commitment
to him is the same he has to his family.


Thank you,


Larry Babich
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                        Exhibit C
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Dear Judge Burroughs:


I am writing this letter on behalf of my son in law Michael. I met Michael for the first time in
Boston as my daughter wanted me to meet what she described to me as the man I will marry one
day. Michael’s love for my daughter was evident right away and I found him to be loving,
caring and devoted to her from the beginning. He came from a large family and I knew Natalie
wanted a large family as well so watching them profess their love in marriage was special as a
mother as Natalie is my only child.


I was fortunate enough to become a grandmother or as I am now referred to, Abuela.
From the minute their oldest son           was born Michael was a natural father and        was
instantly a mommy’s and daddy’s boy. One instance that sticks out to me is when
                                                              Michael never left the his bedside as
doctors sought to discover what could have caused this                            . He slept at the
hospital in bed with his son and he and Natalie now
                                                                                    . Michael and
Natalie always ensure that the school, myself and every environment they bring both kids to
                           Their second son
                                                             Michael makes me so proud how
attentive he is to ensure the safety of his children.


The care he provides for        and          is the same he provides to my daughter.
Unfortunately                                                                               .
Natalie
                    . When            was about one years old Natalie

                                                 and extended periods where she could not care
for or even hold her own kids. Her misdiagnosis caused great pain for years and continues to this
day. Natalie

                 and she continues to rehab her body in hopes of living a normal life despite the
condition.


Michael is there on a daily basis to provide the love and care that both the children and Natalie
desperately needed. He takes the kids to school on a daily basis and the team at the school call
him the room dad as he always participates in all the activities and is there to be a mystery reader
for his children’s classroom because nothing makes him happier than putting a smile on his boys
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faces. I live in Puerto Rico about half the year as that is where I am from and I try to provide all
the love that an Abuela can as well. Michael and I make a tremendous team when Natalie and
the kids need us the most.


In closing I would ask that you take into account my words as my son in law is very precious to
not only my daughter but also to me. He is my family and I love him so.




Thank you,
Maria Nevis
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                        Exhibit D
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Dear Judge Burroughs:

         I’ve known Mikey for 36 years. Being cut from the same cloth I have a unique perspective on
the person he is, was, and will be moving forward. Coming from humble beginnings on the South Side of
Chicago, Mikey was raised understanding the importance of family and faith, and what it means to put
in a hard day’s work. Having supportive parents, and family in general, was the foundation that allowed
him to be the first member of our family to complete a four year degree, and do something other than
blue collar work. He set the example of what we could do, instead of traditionally picking up whatever
trade our parents worked in. Given my parents could no longer help / advise me as I went to college,
and began my professional career, Mikey filled that void. He went out of his way to help me with my
resume, coached me on what it means to be a professional, and even played a role in securing an
internship that ultimately changed the trajectory of my life. There are a countless number of people
whom he helped, and I know there will be many more in the future. I know firsthand Mikey raises his
boys with the same passion, and blue collar style as his parents raised him. Instilling strong morals,
faith, and service as pillars of his household. Just as statistics show, as a man, son, and parent myself, I
understand the importance of having a male figure in the household. I ask that you please take the boys
into account as you make your decision. At the end of the day, if I picked up the phone right now
needing help, Mikey would do whatever, wherever, whenever for me. Having those type of people in
your life are rare, I can count mine on less than one hand, and he’s like that with our entire family.

While he may not outwardly show it in public, that past 4 year have taken a toll on Mikey and his family.
Ostracized by some family and friends, he has been dealing with this situation with minimal support.
The weight and shame that comes with being portrayed as a criminal in public, prior to any due process,
on various media is a sentence in itself, and one he will live with the remainder of his life. When given
the opportunity to do the right thing, he did. Moving forward Mikey will have learned from this, and will
continue to put his family at the center of everything he does. I ask that you please consider the person
Mikey is, was, and will be to his family and community moving forward as you make your decision.



Sincerely,



Donald J Busse
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Jill Ivancich



10/14/2019

Judge Burroughs
Title
Street Address
City, ST ZIP Code

Dear Judge Burroughs:

Thank you in advance for your time and consideration in reading this letter. I am Jill Ivancich, and an aunt to
Michael Babich. As his mother is the oldest sibling, and my husband is the youngest child, I tend to be closer
in age to Michael and have always played the role of a big sister since I came into his life when he was in
middle school. We have always had a close relationship, and I hope that I can paint a picture of who Michael
really is and his character and deep devotion to family.

I fully understand the situation and his plea, as well as his desire to speak truth, and his part in the Insys trial.
I also remember vividly the day when he pulled my husband and myself aside and told us that his plea would
become public the following week. I realize it is easy to want to fight in these situations, but I am proud of
who he is and his decision and the process he went through. There were tears, accountability, hugs and
support. As a Christian family, we know all have sinned and fallen short – but we also have confidence in the
redemption of Jesus Christ and that promise that accompanies that.

Throughout his life, Michael has always been a man of few words, but his heart has always spoken louder
than words and actions could ever express. Those actions of his heart and commitment to his family and
making this world a better place has been consistent throughout life. It’s hard to capture all the essence of
Michael Babich, but I would like to highlight a few that come to mind whenever I think of him.

    •    As with any family, some of the sibling childhood rivalries, or tension can carry over into adulthood.
         Michael had seen some strain in the relationships between his parents and their siblings. Yes, all
         were smiles and hugs for the holidays – but it would seem some of the relationships stopped in
         between family gatherings. Michael was probably a Sophomore/Junior in high school when I first got
         a glimpse of his desire for a peaceful family. He wrote an anonymous letter to all the aunts and
         uncles before Christmas. It eloquently laid out the importance of family, the need to be united, love
         each other and support each other and all he wished for Christmas was a family who was truly a
         family. Michael was always such a smart and witty young man, but his initiative that Christmas was
         instrumental in relationships and healing.
    •    In the summer of 2000, our son, who was 6 at the time and Michael’s cousin, was in a tragic accident
         while we were on vacation and after a week of ICU care, they took our son into a surgery to conduct
         a liver resection and repair the eternal bleeding. We were told at that time, that is was a very risky
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         surgery and was not confident our son would make it through the surgery. At this time, we were far
         from home, as we called to let our family in Chicago know that our son might now make it and
         petitioned for prayers and support. We saw once again Michael’s commitment and dedication to
         family. He was a college student at the time and immediately upon hearing the news he got in his
         car and began driving. After our son had gone through a full day of surgery and what seemed to be
         successful, we walked into an ICU waiting room to see the first from my husband’s side of the family
         there to support us. Michael had driven and gotten to us late in the night supporting us with hugs
         and gifts for our son. He slept those two nights on the couches in the ICU waiting room unable to do
         anything but be present and supportive of us. I was so touched by his heart and commitment to his
         family.
    •    As the nieces and nephews became older, he never failed to miss a family vacation and be the one
         fighting for “All that was good” with his family. He had a cousin who was going through a divorce
         and did everything in his power to help save that marriage and keep that family united. His
         commitment to marriage and children was evident, before he was ever a parent himself. He
         consistently fought for unity of family.
    •    As we have made the transition from a home in Chicago to Arizona, I have been able to witness
         Michael as a husband and father. It comes to no surprise that his heart for family and children grew
         exponentially when he was blessed with his own children. Michael’s character as a husband and
         father is to be admired. His commitment to be a selfless father and husband is demonstrated daily. I
         have had the joy of watching him be a dedicated stay at home father. It isn’t a one-time occurrence,
         it is weekly, daily and hourly. His boys adore him, and he goes consistently above and beyond to
         ensure values, character and love are showered on those boys. He is engaged in every aspect of
         their life and schedules daily outing, family engagements, teaching them all that he can.
    •    After having 3 biological children of our own, my husband and I adopted a child who herself is part of
         the opioid crises in the US and was born addicted to Heroin. So, our children range from 27 to 5.
         Michael has been one of our little one’s biggest supporter and plays the “uncle” role even though
         they are technically cousins. With our move to AZ, he has been dedicated to her and making sure his
         boys have a strong family relationship. I get the pleasure of watching our children play and grow
         together.

The examples of Michael’s heart could continue, but I hope these snippets paint a picture of Michael and his
impact as a father. Although I understand that a sentence will be handed to Michael, I request that you
consider the impact that imprisonment would have on his wife and children. The boys are both so close to
their father and, at their age, the impact this could have would be difficult. There is and will be beauty in the
ashes of this period of life, and I am confident Michael will continue to be a man dedicated to family and has
grown as a man through this time.

Thank you for your time to read this letter and consideration

Sincerely,




Jill Ivancich



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                         Exhibit F
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                                                                            October 17, 2019




Dear Judge Burroughs:


        My name is Jim Nudera and I am writing this letter with my wife Kim Nudera. We have
both known Mike Babich for over 25 years. We feel very lucky to have met him in our college
days and cherish his friendship even more as we’ve grown into adults and parents. The Mike we
know and love is a shy, quietly funny, kind, and loyal man that cares deeply about his friends
and family. Mike is the type of person that makes friends for life and will always be there when
you need him. He is deeply devoted to his parents, extended family, friends, and now to his
beautiful wife and two young boys. Mike is a person who has tried to do the right thing in his life
and will always be someone who wants to make things right in the end. He is someone we trust,
depend on, and care for very much. We are hoping to express what we know about Mike to help
you learn about all of the wonderful sides of this man and hear the history that make up who he
really is. Those close to him know him as someone who is good at his core, and we all believe
he will live every day exemplifying this truth.

         He is the person people look up to and is a role model to many. Mike was an alter boy in
his youth, showing his devotion to his faith. He carries that faith with him and tries to pass that
along to family and friends in need. Mike was a camp counselor during his summers, because
he loves working with kids. He has always wanted to make a positive impact in peoples' lives,
mentoring them so they could become strong role models themselves. He is a hard worker,
always striving to make his family proud. Mike was never spoiled or given things easily. He
always had to work hard to succeed. This was a constant theme. Throughout Catholic school on
the south side of Chicago, where he studied to get the grades needed to attend The University of
Illinois, and through his perseverance in college, and his career, Mike has worked
tirelessly. Mike has also always been an incredibly loyal person, employee, and, of course, a
friend. As his friends that have watched him for 25 years, we believe deeply in his ability to
strive to be a good person and we beg you to try to see him as we do.

        Mike is extremely devoted to his family. Mike is a wonderful father, who loves
his two small boys,         and          more than anything. He is totally involved in every
aspect of raising them and he knows what it means to teach them right from wrong. Mike’s
children are unbelievable kids, and it was always his life’s goal to have a family and be a
wonderful dad. He grew up with loving, hard-working parents that still live between his two sets
of grandparents. He learned at an early age the importance of connection and family. His sense
of the importance of family is unparalleled in anyone we’ve ever met. If Mike is not involved in
his children’s development, it will not only be a detriment to them both, but it will be incredibly
painful for Mike. Having Mike be in their young lives to experience their father’s awesome
love and devotion will help them grown into caring, great people. Mike is also a loving husband
that adores his wife, Natalie. He has always been so devoted to her. Watching their relationship
has been truly inspiring, even through the hardest of times. They are the type of couple that most
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couples strive to be. Separating Mike and Natalie would be so difficult to see. They lean on
each other for everything and need each other.

         Mike and his parents also have a very deep bond unlike many we’ve seen. It is the type
of relationship that we both wish we had with our parents. He is so involved in their lives
and respects their opinions and expectations of him. We have always admired Mike’s ability to
be patient and understanding with his parents. As they age, his parents have needed him even
more to thrive. We know this experience has been incredibly hard for all of them. All Mike ever
wanted was for his parents to be proud of him and be the stand-up man they raised him to be. We
all see Mike as this person.

        It is so hard to grasp who a person truly is during these experiences without the time to
know and watch him over his lifetime. We understand it would be hard for you to see all of
these things as clearly as we do, but all we can do is try our hardest. We have firm beliefs in
Mike's core values and we have confidence in his desire to do good and be a good person
because of the way we have watched him live for so many years. He is the type of person that
learns from his mistakes and does not make them twice. He is the kind of person that wants
people to be proud of him for his character. He is the kind of person that will always have deep
remorse for mistakes and allow it to make him a better person. We’ve seen these character traits
play out daily in his devotion to his family, friends, faith and even in his careers. He wants to be
the Dad his kids are proud of and the son his parents adore. It's not in his DNA to live a life
otherwise. He is and will always be the friend we love and will want to support and stand up
for. This is the Mike Babich we know and care about so deeply.




Sincerely,


Jim and Kim Nudera
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Dear Judge Burroughs:


Michael Babich is my first cousin and has been my best friend since I could walk.
From a very young age we were taught the importance of family and our faith.
We attended 18 years of catholic school. Some would say that it would be a nuisance- but we
embraced it. We even attended mass during the week before school, though we didn’t have to. It
was peaceful and refreshing to start our day with the Lord. I think our catholic school upbringing
was our bond - to each other, and to our family. It has made us who we are today.


Michael has been a rock for our family for the past 40 years. His compassion and dedication for
everything he touches has always impressed me. Growing up he was good at sports, excelled in
school, kept tight with his faith . He has personally helped me through some trying times in my
life. We have leaned on each other through the good times, and the bad times.


Our family was as tight as they come growing up. My grandparents had four children, and every
birthday, holiday, christening and graduation were celebrated together. From the time we were
young, Michael knew he wanted a family just like the one we grew up in. He loves kids. He is
The Godfather to my daughter Hailey and his nephew Jacob. He would make special trips out to
suprise them on birthdays and holidays. It was awesome to see their faces light up when he
walked through the door! Now, he has his own beautiful family that he always wanted. My
daughter and I went out and stayed with him and his family last spring. I loved watching him
with his boys. Their eyes light up when he is around. Out of all the things Michael aspired to be
growing up , I think “father” fits him best!!


Living 1800 miles away from one another isn’t optimal, but we make it work. We are still as
close today as we were when we were 5. Our bond is truly a result of our family upbringing and
our faith, no matter how far apart we are.
Michael is an amazing father, uncle, cousin and friend. My family and I are lucky to have him
be a part of our lives. ❤



Thank you,
Jennifer Sneed
